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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                        District
                                                  __________     of Columbia
                                                              District of __________


                     Conrad Smith, et al.                         )
                             Plaintiff                            )
                                v.                                )      Case No. 1:21-CV-02265-APM
                    Donald J. Trump, et al.                       )
                            Defendant                             )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Donald J. Trump, Donald J. Trump for President, Inc., and Make America Great Again, PAC                            .


Date:          02/07/2023                                                                /s/ Jason C. Greaves
                                                                                           Attorney’s signature


                                                                                Jason C. Greaves (DCB No. 1033617)
                                                                                       Printed name and bar number
                                                                                       Binnall Law Group, PLLC
                                                                                        717 King St, Suite 200
                                                                                          Alexandria, Virginia

                                                                                                 Address

                                                                                          jason@binnall.com
                                                                                             E-mail address

                                                                                            (703) 888-1943
                                                                                            Telephone number

                                                                                            (703) 888-1930
                                                                                              FAX number


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